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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
                        Plaintiff,            )
                                              )
        v.                                    )      Cause No. 1:02-cr-0169-JMS-DKL-17
                                              )
 ROBERT J. GARZA,                             )
                                              )
                        Defendant.            )



                             REPORT AND RECOMMENDATION

        On November 18, 2015 and March 28, 2016, the Court held hearings on the Petition for

 Warrant or Summons for Offender Under Supervision filed on November 2, 2015. Defendant

 Garza appeared in person with his appointed counsel, Gwendolyn Beitz. The government

 appeared by Brad Blackington, Assistant United States Attorney. U. S. Parole and Probation

 appeared by Officer Jay Hardy.

        The Court conducted the following procedures in accordance with Fed. R. Crim. P.

 32.1(a)(1) and 18 U.S.C. § 3583:

        1.     The Court advised Defendant Garza of his rights and provided him with a copy of

 the petition. Defendant Garza waived his right to a preliminary hearing.

        2.     After being placed under oath, Defendant Garza admitted violations 1, 2, 3, 4, and

 5. [Docket No. 103.]

        3.     The allegations to which Defendant admitted, as fully set forth in the petition, are:
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       Violation
       Number      Nature of Noncompliance


         1         “The defendant shall refrain from any unlawful use of a controlled
                   substance.”

                   On July 23, 2013, the offender submitted a urine sample which tested
                   positive for cocaine. The offender was confronted about his illegal drug use
                   and denied he used illegal drugs. On August 5, 2013, Alere Laboratories
                   confirmed the sample was positive for cocaine. This was previously
                   reported to the Court.

         2         “The defendant shall not commit another federal, state, or local crime.”

                   On November 7, 2011, the offender was arrested in Morgan County, Indiana
                   for Operating a Motor Vehicle as a Habitual Traffic Offender, Class D
                   felony, under cause number 55C01-1111FD-1418. On September 19, 2012,
                   the offender was sentenced to 1 year and 6 months of incarceration. This
                   was previously reported to the Court.

         3         “The defendant shall not commit another federal, state, or local crime.”

                   On March 15, 2012, the offender was arrested in Marion County, Indiana,
                   for Operating a Motor Vehicle as a Habitual Traffic Offender, Class D
                   felony under cause number 49F24-1203FD-17658. On November 27, 2012,
                   the offender was sentenced to 365 days of incarceration, 4 days executed,
                   361 days suspended to probation. This was previously reported to the
                   Court.

         4         “The defendant shall not commit another federal, state, or local crime.”

                   On April 12, 2012, the offender received a traffic citation in Allegany
                   County, Maryland, for Driving While Suspended. A warrant was later
                   issued for Failure to Appear under cause number 1RD0BW. On August 25,
                   2015, the offender was sentenced to 24 hours probation and ordered to pay
                   a $157.50 fine. This was previously reported to the Court.

         5         “The defendant shall not commit another federal, state, or local crime.”

                   On June 6, 2012, the offender was arrested in Morgan County, Indiana for
                   Operating a Motor Vehicle While Intoxicated, Class A misdemeanor, under
                   cause number 55D01-1201-CR-0800. On October 2, 2012, the offender
                   was sentenced to 9 months of incarceration consecutive to cause numbers
                   55C01-111FD-1418 and 49F24-1203-FD-17658. This was previously
                   reported to the Court.

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         4.     The Government orally moved to dismiss violation 6 and the Court granted the

 same.

         5.     The parties stipulated that:

                (a)     The highest grade of violation is a Grade B violation.

                (b)     Defendant’s criminal history category is IV.

                (c)     The range of imprisonment applicable upon revocation of supervised
                        release, therefore, is 12 to 18 months’ imprisonment.

         6.     The parties jointly recommended a sentence of 1 day incarceration with no

 supervised release to follow.

         The Magistrate Judge, having considered the factors in 18 U.S.C. § 3553(a), and as more

 fully set forth on the record, finds that the Defendant violated the conditions in the petition, and

 recommends that Defendant’s supervised release should be REVOKED, and that he should be

 sentenced to the custody of the Attorney General or his designee for a period of 1 day with no

 supervised release to follow. The Defendant is to be taken into custody immediately pending

 the District Judge’s action on this Report and Recommendation.

         The parties are hereby notified that the District Judge may reconsider any matter assigned

 to a Magistrate Judge. The parties waived the fourteen-day period to object to the Report and

 Recommendation.

         Dated: 31 MAR 2016




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